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                 EXHIBIT R
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1    Call Date:      10/25/2018

2    Call Duration: 06:06

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         Gamal Abdelaziz

7    File Name:               8802 2018-10-25 18-03-21 10712-001

8    Bates No.:

9

10   ABDELAZIZ:      [00:00] Rick.

11   SINGER:    Gamal, tell me something good.

12   ABDELAZIZ:      Uh, (laughter) So            (sp?) is loving USC.

13        Thank you so much.     How are you doing?

14   SINGER:    I’m -- I’m living life like you, big guy.

15   ABDELAZIZ:      (laughter)     It’s good to hear from you.

16   SINGER:    Going well.

17   ABDELAZIZ:      How can I be of help, my friend?

18   SINGER:    Well, I -- what I want to do is I want to just --

19        one, I wanted to find out -- I’m sure she’s doing great

20        because everybody loves it.       Have you -- did you guys go

21        to parents weekend last weekend or 2 weekends ago?

22   ABDELAZIZ:      Yes, we did.     We loved it.    We absolutely loved

23        it.   Got to meet a lot of people.

24   SINGER:    And has        been on campus yet to see
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1    ABDELAZIZ:         He has not.    He’s got his own universe, uh,

2         Rick, as you know.

3    SINGER:    (laughter)       OK.   Are you still funding the universe?

4    ABDELAZIZ:         Uh, you know, I have not because          has been

5         in and out [01:00] of the school, um, because...           You

6         know, you’re talking about Columbia?

7    SINGER:    Yeah.

8    ABDELAZIZ:         Yeah.   He’s been out more than he’s been in.

9         I’ve had, uh, uh, somewhat of a challenge with                   He

10        came up with an idea and unfortunately I was too busy in

11        China and he didn’t follow through on it and we ended up

12        -- he ended up, according to him, losing a $1,000,000,000

13        company.    So...

14   SINGER:    OK.   Wow.      We’ll see.

15   ABDELAZIZ:         Uh, I know it’s -- I know it’s hard to digest

16        but he came up with an idea that Facebook has acquired

17        for -- about 3 or 4 years ago he came up with an idea.            I

18        had just landed in China.          We didn’t have time to discuss

19        it.   And he claims, and I know he’s not making up stuff,

20        that it’s now worth a lot of money.         So we are --

21   SINGER:    OK.

22   ABDELAZIZ:         -- we’ve got a challenge with him.      I need to

23        get him to realize that life has [02:00] many, you know,

24        uh, setbacks and he needs to learn to just dust himself
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1         off and start all over.         But, uh, he’s stuck a little

2         bit.

3    SINGER:     OK.   Well, I’m sorry to hear that.

4    ABDELAZIZ:          Yeah, yeah.    He’s -- he’s in college.

5    SINGER:     So --

6    ABDELAZIZ:          I mean, he’s -- he’s taking his exams and he’s

7         doing his thing.

8    SINGER:     OK, OK.    Well, cool.     Well, I’m in Boston.   It’s

9         freezing here.

10   ABDELAZIZ:          Oh, I’m sure.    Yeah.

11   SINGER:     I just -- I had to go out and buy a jacket today.

12   ABDELAZIZ:          Oh, my God.    Yeah.   My team was there and they

13        were watching the game last night and they were telling

14        me they were freezing their butt off.

15   SINGER:     Oh, absolutely.       Absolutely.   So the reason for my

16        call is I just wanted to make sure that you knew.          So my

17        foundation, which happens to all these foundations,

18        especially as we got -- we’ve gotten bigger.          So we’re

19        getting audited right now.

20   ABDELAZIZ:          Yes.

21   SINGER:     So -- which is typical, right.        And so they’re

22        looking at all my payments --

23   ABDELAZIZ:          Yes.
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1    SINGER:    -- that have come into our foundation and so they

2         asked me, you know, about the $300,000 payment, um --

3    ABDELAZIZ:        Yes.

4    SINGER:    -- that was made.

5    ABDELAZIZ:        Yes.

6    SINGER:    And so I just want you to know from the IRS, you

7         know, I’m not going to tell the IRS anything about the

8         fact that your $300,000, um, was paid to Donna -- Donna

9         Heinel at USC to get              into school even though she

10        wasn’t a legitimate basketball player at that level.             So

11        I’m not going to -- I’m not going to say that to the IRS

12        obviously.    Are you --

13   ABDELAZIZ:        OK.

14   SINGER:    You’re OK with that, right?

15   ABDELAZIZ:        Of course.

16   SINGER:    OK.    I just -- I just want to make sure.       I never

17        know with families, right.       But here’s the funny thing.

18   ABDELAZIZ:        No, I -- I mean, I -- you know, I mean, I -- I

19        -- my intention was to, uh, donate the money to the

20        foundation and, uh, what -- you know, and then from there

21        obviously, uh...     I don’t think...     Uh, do they have the

22        intention of reaching out to the people that sent those

23        [04:00] payments?     Is that what you’re saying?
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1    SINGER:    Uh, I don’t know.     You know, we have hundreds and

2         hundreds of them.

3    ABDELAZIZ:      Yeah.

4    SINGER:    And I’m just in the point where I just -- you know,

5         the way I am, I just want to make sure everybody’s aware.

6         I wanted to make sure our stories are correct.

7    ABDELAZIZ:      But -- but Rick, you’re -- you’re a friend.

8         You’ve been a friend of my family for many years.          Is

9         there anything I can do to help?        Uh, I’m just --

10   SINGER:    Well, no.    No.   You -- I’m in great shape.      So what

11        --

12   ABDELAZIZ:      Good.

13   SINGER:    What I want -- but I just want to make sure -- our

14        books are great.     Everything’s great.     But, you know,

15        when you deal with the IRS, you never know where they’re

16        going to go.    But I’ll tell you --

17   ABDELAZIZ:      Absolutely.

18   SINGER:    I’ll tell you a funny story.       Is that Donna Heinel,

19        who is the senior women’s administrator, she actually

20        called me and said -- sorry, I’m in a -- a hotel right

21        now and they’re doing a fire alarm.

22   ABDELAZIZ:      Yeah.

23   SINGER:    Uh, they -- she called me and says, “Hey, Rick, that

24        profile that you did for                I loved it.    It was
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1         really well done and going forward, anybody [05:00] who

2         isn’t a real basketball player that’s a female, I want

3         you to use that profile going forward.”

4    ABDELAZIZ:       I love it.

5    SINGER:    But -- yeah, it was great.      Absolutely great.      So I

6         just want to make sure our stories are together.          I’m

7         going to essentially say that your $300,000 payment, um,

8         was made to our foundation to help underserved kids.

9    ABDELAZIZ:       OK.

10   SINGER:    And we should be in good shape.       I just want to make

11        sure you’re OK with that, too.

12   ABDELAZIZ:       I am.

13   SINGER:    OK.   Terrific.    And if there’s anything else I can

14        do for you, just let me know.

15   ABDELAZIZ:       Rick, I appreciate it, as always, and, uh, you

16        know, if you ever have the time for a quick call to

17        I would really appreciate it.       He loves you and looks up

18        to you and, uh, I think this is a moment were you to

19        reach out to 5 minutes to the kid, uh, I think he would

20        appreciate it.

21   SINGER:    I -- I’ll do that.     I’ll do that this weekend.

22   ABDELAZIZ:       I -- I -- I’ll text you his number in case you

23        have time this weekend.

24   SINGER:    OK, I appreciate that.      I’ll do that.
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1   ABDELAZIZ:       [06:00] Thank you, Rick.      Take care.

2   SINGER:    OK.   Take care of yourself.      All right, bye-bye.

3   ABDELAZIZ:       Bye.   Bye. [06:03]

4

5                             END OF AUDIO FILE

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